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                         UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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11                                                )
      WASHOUTPAN.COM, LLC, a California           )     Case No. CV 20-1105-AB (JEMx)
12    limited liability company,                  )
                                                  )
13                                Plaintiff,      )     JUDGMENT
                                                  )
14                 v.                             )
                                                  )
15    WHITE CAP, L.P., a Florida limited          )
      partnership; and DOES 1-10, inclusive,      )
16                                                )
                                  Defendants.     )
17                                                )
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            In accordance with the Order Accepting Findings and Recommendations of United
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      States Magistrate Judge filed concurrently herewith,
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            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED as follows: (1) judgment is
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      entered in favor of White Cap, L.P. (“White Cap”), and against Washoutpan.com, LLC (“WP”),
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      on all claims; (2) that WP shall pay to White Cap the amount of $5,625.50, which is inclusive
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      of all sums previously owed by WP through the Court’s prior orders; and (3) this action is
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      dismissed with prejudice.
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      DATED: December 2, 2021
27                                                         ANDRE BIROTTE, JR.
                                                      UNITED STATES DISTRICT JUDGE
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